          Case 21-05028-gs    Doc 6   Entered 01/29/21 14:35:57       Page 1 of 3




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 9 Attorneys for Christina Lovato, Chapter 7 Trustee
10                            UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA
11
     In re                                         Lead Case No.: BK-19-50102-gs
12                                                 (Chapter 7)
13   DOUBLE JUMP, INC.
                                                   Jointly Administered with:
14              Debtor.
                                                       19-50130-gs   DC Solar Solutions, Inc.
15
     Affects:                                          19-50131-gs   DC Solar Distribution, Inc.
16   ☒ DC Solar Solutions, Inc.                        19-50135-gs   DC Solar Freedom, Inc.
17   ☒ DC Solar Distribution, Inc.
     ☐ DC Solar Freedom, Inc.
18   ☐ Double Jump, Inc.
19
20   CHRISTINA W. LOVATO,                          Adversary No.: 21-05028-gs
21              Plaintiff,
                                                   CERTIFICATE OF SERVICE
22   v.                                 COMPLAINT, SUMMONS, STANDARD
23                                      DISCOVERY PLAN AND SCHEDULING
     KING SOLARMAN, INC., CHIANG LIAN ORDER PACKET
24   CUNG a/k/a MICHAEL CUNG, KING
     SOLARMAN (INDION) FUND I, LLC, and
25   KING SOLARMAN (INDION) FUND II, Hearing Date: May 17, 2021
     LLC,                               Hearing Time: 9:30 A.M.
26
27              Defendants.

28




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         Case 21-05028-gs      Doc 6     Entered 01/29/21 14:35:57       Page 2 of 3




 1          I, Kevin C. Paule, certify that I am at least 18 years old and not a party to the matter
     concerning which service of process was made. I further certify that the service of this summons
 2   and a copy of the complaint along with the Standard Discovery Plan and Scheduling Order packet,
 3   as required by Local Rule 7016(b), was made on January 29, 2021 by:

 4         Mail Service: Regular, first class United States mail, postage fully pre−paid, addressed
            to:
 5
 6                   King Solarman, Inc.
                     By and through its Registered Agent
 7                   Chiang Lian Cung
                     48949 Milmont Drive
 8                   Fremont, CA 94538

 9                   Chiang Lian Cung a/k/a Michael Cung
                     48949 Milmont Drive
10                   Fremont, CA 94538
11                   King Solarman (Indion) Fund I, LLC,
                     By and through its Registered Agent
12                   A Registered Agent, Inc.
                     8 the Green, Suite A
13                   Dover, DE 19901
14                   King Solarman (Indoin) Fund II, LLC
                     By and through its Registered Agent
15                   Chianglian Cung
16                   2051 Junction Avenue, Suite 232
                     San Jose, CA 95131
17
           Personal Service: By leaving the process with defendant or with an officer or agent of
18          defendant at:
19
           Residence Service: By leaving the process with the following adult at:
20
           Certified Mail Service on an Insured Depository Institution: By sending the process by
21          certified mail addressed to the following officer of the defendant at:
22
           Publication: The defendant was served as follows: (Describe briefly)
23
     #
24   #
25   #
     #
26   #
     #
27   #
28   #
     #



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       Case 21-05028-gs        Doc 6     Entered 01/29/21 14:35:57        Page 3 of 3




 1
         State Law: The defendant was served pursuant to the laws of the State of
 2        __________________, as follows: (Describe briefly)
 3
     Under penalty of perjury, I declare that the foregoing is true and correct.
 4
            Dated: January 29, 2021.
 5                                                          s/ Kevin C. Paule
 6                                                         Michael S. Budwick, Esquire
                                                           Florida Bar No. 938777
 7                                                         mbudwick@melandbudwick.com
                                                           Kevin C. Paule, Esquire
 8                                                         Florida Bar No. 125276
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                                                           Miami, Florida 33131
12                                                         Telephone: (305) 358-6363
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13                                                         Attorneys for Plaintiff
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